Case 1:21-cr-00117-RCL Document 71-1 Filed 12/15/21 Page 1 of 1

PP 4210.2
Attachment J
Inmate Institutional Work Program

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING - INMATE

| Inmate’s Name DCDC # Date
Byan  dfichols 376795 | il/i6/2l
Evaluation Period (Month/Year) Squad Position/Grade
November _Zoz I De-tai| Head  Petajl.
1. Quality of Work
’ Excellent Does superior work. Does more work than is expected or required.
Satisfactory Makes fewer mistakes than most workers at this level of training/work.
Good Acceptable level of work. Produces average volume of work.
Fair Often makes mistakes; often completes less work than others of same skill level.
Unsatisfactory Repeatedly makes errors, shows little interest in producing better quality, low output.
2. Quantity of Work
Excellent Superior work and exceeds expected productivity.
Good Motivated to work; does full days work, wastes little time.
Satisfactory Works steadily but does not push to exceed.
Fair Does just enough to get by, has to be encouraged to do more.
Unsatisfactory Very low output, must be prompted to complete work.
3. _Ipitiative
Excellent Good ideas to improve work, does work to improve skills, works with positive attitude.
Good Adapts well to change, works to improve skills, works with above average interest.
Satisfactory Starts work without being told, generally works with a positive attitude.
Fair Shows minimal interest, usually relies on others to say wnat needs to be done.
Unsatisfactory Shows little job interest, waits to be told what to do, works with a negative attitude.
4. Dependability, Safety, Care of Equipment
—| Excellent Work is very reliable, consistent and thorough, always completes tasks on time.
Good Work is usually reliable and consistent.
Satisfactory Completes work on time .
Fair Work is sometimes unreliable, satisfied to complete a minimum of work.
Unsatisfactory Work is usually unreliable. Does not accept responsibility and gives up easily.
5. BeSponse to Supervision
| 1 Outstanding Makes a real effort to please Supervisor, does exactly what is required.
Good Accepts feedback well, tries to improve.
Satisfactory Generally does what is told, accepts instruction, feedback.
Fair Resists or ignores suggestions.
Unsatisfactory Responds with hostility towards work assignments, regularly argues with supervisor.
6. erall Job Proficiency: If in community based upon inmate's performance would you:
“| Promote this inmate to amore demanding job ata higher rate of pay
Raise this inmate's pay but keep individual at same job
|_| Continue to employ this inmate but would not recommend for promotion or pay raise
Transfer this inmate to a less demanding job at a tower rate of pay
Terminate inmate's employment
Sup sorsiyig ature Date ;
Cp _ WVOWe Ryan Afichols has heen Blithe and h/\efao4
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Original Inmate's Institutional File
Copy Inmate Worker

Squad Supervisor

